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ANTHONY HENRY, | Oo

 

 

 

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IN THE SUPERIOR COURT FOR THE STATE OF -ALAS KA

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THIRD JUDICIAL DISTRICT AT ANCHORAGE

 

Plaintiff,

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Vs.

MUNICIPALITY OF ANCHORAGE,
ANCHORAGE POLICE DEPARTMENT,
and MARK MEW.

Defendants.

Bee ee ee ee

Case No. 3AN-15-06834 cI

 

FIRST AMENDED COMPLAINT

Plaintiff, Anthony Henry, through counsel, the law firm of

Dillon & Findley, P.C., alleges the following factual basis and
causes Of action:

1. Lieutenant Anthony Henry served the public as a police

officer, employed by the Municipality of Anchorage (“MOA”), for

over 23 years when he was wrongfully terminated in April 2015

from the Anchorage Police Department (“APD”) and MOA,

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2. During Lt. Anthony Henry's long and distinguished
career with the APD, he worked his way up the command structure
through assignments to various APD departments and divisions,
including patrol, crime suppression, and as a cletective. He was

a Canine Officer, a member of APD’s Homicide Unit and SWAT Team,

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as well as serving in the Special Victim’s and Crimes Against
Children Units.

dJurisdiation and Venue

 

3. ‘This Court has jurisdiction over this case pursuant to
AS 22,10.020.
4, Venue in this action is proper in the Third Juclicial

District at Anchorage under Alaska Rule of Civil Procedure 3.

Parties
5. Anthony Henry is a resident of Anchorage, Alaska.
6. Defendant MOA is a home rule Municipality organized

under the laws of the State of Alaska, and is Subject ta suit
under AS 29.35.010 and the common law.
7. Defendant APD is an agency of the MOA.
8. Mark Mew is the current Chief of the APB, and served
as APD Chief during all times relevant to this lawsuit.
Facts Relevant to the Causes of Action
9, From September 2009 througn April 2012, Lt. Henry

supervised an APD officer (“the officer”) while working as the

commander of APD’s specialized units. During that time, the

officer confided to Lt. Henry that he was diagnosed with a
degenerative disease.
10, The officer's condition was controlled by medication

and did not affect his job performance. With that knowledge,

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Lt. Henry maintained (and still does today) that the officer's
medical condition was irrelevant.

ll. In January 2012, then-Deputy Chief Steve Hebbe

directed Captain Ross Plummer to initiate an Internal Affairs

(“TA”) investigation into the officer because of his diagnosis,
condition and medication.

12. On April 10, 2012, then-Deputy Chief Hebbe ordered
that the officer be transferred from his then position to a
different position, justifying the transfer as a better use of
staff. But that transfer was in direct conflict with the Police
Executive Research Form staff study commissioned by MOA Mayor
Dan Sullivan.

13. Later that day, Lt. Henry reported the retaliation
against the officer to Chief Mark Mew, because he believed that
the actions taken against the officer violated the Americans
With Disabilities Act and APD policies.

14. On information and belief, sometime on or around June
2012, the officer told Lt. Henry that he intended to file a
complaint with the Equal Employment Opportunity Commission
(“EEOC”) and the MOA’s Office of Equal Opportunity (“OBO”).

15. Separate and apart from the treatment of the officer,
starting in April 2012, among other things and as a result of

Lt. Henry’s decision to report the treatment to Chief Mew, thea

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APD engaged in retaliatory acts against Lt. Henry, including,
but not limited to:
a. Unsupported IA investigations;
B®. Placement on restrictive duty (home car taken
away, police duty suspended) ;
c. APD~-ordered unofficial fitness for duty
psychological evaluation; and
d. Oral reprimands.

16. On various occasions between June anc December 2012,
Lt. Henry met with Chief Maw and requested that he stop the
wrongful and retaliatory conduct of the APD and its officers.
Chief Mew took no such action.

iv. On December 17, 2012, Lt. Henry filed an OFO complaint
regarding the wrongful and retaliatory acts taken against him.
bt. Henry filed a complaint with the BEOC about six weeks later,
on dganuary 28, 2013.

18. The MOA's OEFO issued an investigative report on
January 28, 2013 in response to Ut. Henry's OEOQ complaint.
Until just recently, Chief Mew, the MOA and APD denied Lt. Henry
access to this report. Pursuant to a Protective Order, signed
by this Court on June 15, 2015, Lt. Henry received a copy of the

QHO report.

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19. In March 2013, unbeknownst to Lt. Henry, APD initiated
another IA investigation, at the direction of then-Deputy Chief
hebbe and Sergeant Jack Carson, regarding Lt. Henry’s handling
OF Ene officer's medical diagnosis. APD did not inform
Lit. Henry of the IA investigation until June 2013.

20. On or around that same time, the EEOC requested
information from APD and MOA regarding Lt. Henry’s EEOC claims.
The parties also agreed to mediate his January 2013 EEOC claim.
Upon information and belief, the APD, Chief Mew, and MOA did not
inform the EEOC of the subsequent IA investigation during the
pendency of his EEOC proceeding.

21. From May 31, 2013 through June 3, 2013, Lt. Henry, APD
and the MOA mediated the January 2013 EEOC complaint, settling
that compliaint on June 4, 2013. Chief Mew also attended the
mediation, and signed the Settlement Agreement on behalf of the
MOA. The Settlement Agreement dictated the terms of the
settlement.

22. After Lt. Henry signed the Settlement Agreement, he
learned from Marilyn Stewart-Richardson, the author of the OEO
investigative report, that Chief Mew requested she change the
OEO report findings. She apparently refused. Lieutenant Henry
also learned about the March 2013 IA investigation regarding his

handling of the officer's medical diagnosis, and that Chief Mew

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instructed TA not to inform Lt. Henry about the IA investigation
until after his EEOC claim settled.

23. The Settlement Agreement included a provision that
protects Lt. Henry from any retaliation related to deposition or
trial testimony he gave in connection with a lawsuit filed by
former APD officers.

24, On August 2, 2013, Lt. Henry filed a second EEOC claim
alleging violation of the Settlement Agreement and APD policies.
The allegations stemmed from Chief Mew’s decision to keep the
March 2013 IA investigation a secret, and Chief Mew’s, APD’s and
MOA’s continued retaliatory conduct.

29. In September 2013, Lt. Henry Learned that the March
2013 TIA investigation resulted in a finding that he did not
violate APD policies regarding issues related to the officer's
medical status.

26. In October 2013, then-Deputy Chief Hebbe and Sergeant
Carson made aliegations to Chief Mew related to the Alaska
National Guard, including allegations that Lt. Henry interfered
in drug and sexual assault investigations. Lieutenant Henry did
not become aware of these allegations until 18 months later when
he read the report that led to his termination.

27. In November 2013, Chief Mew requested that the Federal

Bureau of Investigations (“FBI”) investigate the allegations

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referenced in paragraph 26, above. Lieutenant Henry did not
become aware of this request until he read the report that led
to his termination.

28. In February 2014, Lt. Henry, the MOA and APD mediated
Lt. Henry’s second EEOC complaint, filed in August 2013. The
EEOC claim did not settle.

29. On May 13, 2014, Lt. Henry received notice from Chief
Mew that he was being reassigned to the Special Victim’s Unit
and Crimes Against Children Unit. Chief Mew also requested that
Lt. Henry settle the August 2013 EEOC complaint, which Lt. Henry
declined.

30. In June 2014, Lt. Henry received notice that the IA
investigation instigated by Sergeant Carson had been completed,
with a finding of no violations. Lieutenant Henry had na
previous notice of that IA investigation, and requested access
to his IA records. MOA and APD refused to allow Lt. Henry to
review his IA records, in violation of state and municipal law.
Lieutenant Henry filed a grievance on the issue, anel
subsequently prevailed. in connection with Lt. Henry’s review
of his IA records, Lt. Henry determined that Internal Affairs
Commander Lt. Kevin Vandegriff had manipulated and, at times,

changed certain TIA records, in violation of APD policy,

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including a change to an TA record related to an EEOC charge,
subject to mediation.

31. On October 20, 2014 and December 18, 2014, Lt. Henry
was interviewed by an investigator hired by the MOA and APD to
investigate allegations regarding the Alaska National Guard.
The MOA and APD provided Lt. Henry with less than 24 hours of
notice, and denied him the right to regal representation. The
MOA and APD did not provide Lt. Henry with any of the

investigation background information, prohibited him from

reviewing notes or reports prior to or during the interviews,
and precluded him from discussing the investigation with anyone.

32. On March 25, 2015, the MOA and APD ordered Lt. Henry
to report to City Hall and terminated him, effective April l,
2015. The MOA and APD did not follow the procedures outlined in
their personnel regulations and failed to satisfy Alaska law.

33. On June 11 and 12, 2015, the U.S. Department of
Justice sent two letters to Lt. Henry affording him the right to
institute a civil action under Title 1 of the Americans With
Disabilities Act of 1990, 42 U.S.C. 12111 dnd 42 U.S.C. 12203,
and Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e.
These letters are considered “Notice of Right to Sue” letters

and relate to EEOC Charge No. 5512013601467.

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Count I - Retaliatory Discharge
(MOA, APD and Chief Mew)

 

Plaintiff incorporates paragraphs 1 through 33 as if fully
set forth and further alleges as follows:

a4. By making good faith reports of violations of federal
laws, Municipal laws, state laws, and APD policies to Chief Mew,
other individuals within the APD, the MOA, and the EEOC,
bt. Henry engaged in protected activity under the Americans With
Disabilities Act, 42 U.S.C. § 12101 et seq.

35. The MOA, APD and Chief Mew were aware of Lt. Henry’s
complaints and had been for a siqnificant period of time. In
fact, the MOA, APD and Chief Mew promised not to retaliate
against him in connection with the settlement of his first EEOC
claim.

36. The MOA, APD, and Chief Mew retaliated against
Lt. Henry for engaging in protected activity. The retaliatory
conduct took many forms, eventually resulting in wrongful
termination.

37. The retaliatory conduct by the MOA, APD, and Chief Mew
violated Alaska and federal law, and caused Lt. Henry to suffer
damages in excess of $100,000.00, the precise amount to be

determined at trial.

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Count II - Wrongful Termination
(MOA and APD)

 

Plaintiff incorporates paragraphs 1 through 37 as if fully
set forth herein and further alleges as follows:

36. The acts by the MOA and APD, including retaliating and
terminating Lt. Henry for reporting and opposing unlawful
conduct, constitute the tort of wrongful termination in
violation of the public policy of the State of Alaska.

35. As a result of the MOA’s and ABD’s wrongful
termination, Lt: Henry suffered damages in excess of
5100,000.00, the precise amount to be determined at trial.

Count TIT ~ Breach of Covenant of Good Faith and Fair Dealing
(MOA and APD)

 

Plaintiff incorporates paragraphs 1 through 39 as if fully
set forth herein and further alleges as follows:

40, Lieutenant Henry was employed by the MOA, as a police
officer for APD.

4l. Lieutenant Henry’s employment by the MOA and APD
included an implied covenant of good faith and fair dealing.

42. Under Alaska law, every contract contains an implied
covenant of good faith and fair dealing.

43. The MOA and APD breached the covenant of good faith

and fair dealing in various ways, including:

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a. by wrongfully breaching the Settlement Agreement;
and

b. by wrongfully terminating Lt. Henry’s employment
with APD and MOA and retaliating against Lt. Henry in
violation of Alaska law, APD policies and the Settlement

Agreement.

44. As a result of MOA’s and APD’s breach of the covenant
of good faith and fair dealing, Lt. Henry suffered damages in
excess of $100,000.00, the precise amount to be determined at
trial,

Count IV - Breach of Contract
{MOA and APD}

Plaintiff incorporates paragraphs 1 through 44 as if fully
set forth herein and further alleges as follows:

45. Lieutenant Henry, and the APD, on behalf of the MOA,
entered into a Settlement Agreement on June 4, 2013. According
to the Settlement Agreement, the MOA made the foliowing
promises:

a. That there shall be “no discrimination or
retaliation of any kind” against Lt. Henry for testifying
in a trial proceeding or deposition or for filing the first

EEOC claim regarding the officer;

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by That certain JIA investigations and records of
oral reprimands would be removed and purged from
Lt. Henry’s personnei file;
c. That APD would provide department-wide OEO
training;
d. That the OEFO report would be provided to
Lt. Hanry after review by the MOA’ s attorney and/or a court
order; and
©. That) the APD would include Lt. Henry in
discussions regarding his “[F]all assignments.”
46. MOA and APD breached the Settlement Agreement by
failing to perform as agreed.
47. By virtue of MOA’s and A®D’s breach of the Settlement
Agreement, Lt. Henry suffered damages in excess of $100,000.00,
the precise amount to be proven at trial.

Count V - Fraud in the Inducement
(MOA, APD and Chief Mew}

Plaintiff incorporates paragraphs 1 through 47 as if fully
set farth herein and further alleges as follows:

48. The MOA, APD and Chief Maw concealed material
information from Lt. Henry during the mediation of his Emoc
complaint. Per Chief Mew’s direction, the existence of an IA

investigation against Lt. Henry regarding his handling cf the

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officer’s medical diagnosis was concealed from Lt. Henry in
order to induce him to settle the EEOC complaint.

49. The failure of the MOA, APD and Chief Mew to inform
Lt. Henry about this charge was intentional, and constitutes a
misrepresentation of a material fact.

50, Lieutenant Henry reasonably relied on information from
the MOA, APD, and Chief Mew regarding pending IA complaints. In
fact, the Settlement Agreement, signed by Chief Mew on behalf of
the MOA and APD, included a list of IA claims that were to be
expunged from Lt. Henry’s personnel files.

ol. As a result of the MOA's and APD’s misrepresentation,
Lt. Henry suffered damages in excess of $100,000.00, the precise
amount to be determined at trial.

Count VI - Violation of Title I of the Americans With
Disabilities Act of 1990, 42 U.S.c. § 12111 and

Title V, §$ 503 of 42 U.S.c. § 12203
(MOA, APD and Chief Mew)

 

Plaintiff incorporates paragraphs 1 through 51 as if fully
set forth herein and further alleges as follows:

32. Thea actions of MOA, APD and Chief Mew related to
retaliation described in Lt. Henry’s second EEOC complaint
constitute a violation of Title I of the Americans With
Disabilities Act of 1990, 42 U.S.C. § 12111 and Title V, § 503

of 42 0.5.C. § 12203.

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33. As a result of the conduct of MOA, APD and Chief Mew,
Lt. Henry has suffered injury including, but not limited to,
economic loss, loss of enjoyment of life and deprivation of his
equal employment opportunities.

Count Vil - Violation of Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e, et seg.
(MOA, APD and Chief Mew)

Plaintiff incorporates paragraphs 1 through 53 as if fully
set forth herein and further alleges as follows:

34. The actions of MOA, APD and Chief Mew related to
retaliation described in Lt. Henry’s second EEOC complaint
constitute a violation of Title VII of the Civil Rights Act of
i964, 42 U.S.C. § 2000e, et sag.

95. As a result of the conduct of MOA, APD and Chief Mew,
Lt. Henry has suffered injury including, but not limited to,
compensatory damages for future pecuniary losses, amotional
pain, suffering, inconvenience, mental anguish, loss af
enjoyment of life, and other nonpecuniary damages.

Count VIIT - Vicarious Liability
(MOA and APD)

Plaintiff incorporates paragraphs 1 through 55 as if fully
set fortn herein and further alleges as follows:
56. By making good faith reports of violations of federal

laws, municipal laws, state laws, and APD policies to Chief Mew,

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other individuals within the APD, the MOA, and the EEOC,
Lt. Henry engaged in protected activity under the Americans With
Disabilities Act, 42 U.S.C. § 12101, et seq.

57. MOA and APD are vicariously liable for the acts and
omissions of their employees (and/or contractors or agents) and
staff.

58. To the extent that any MOA and APD employees (and/or
contractors or agents) exhibited retaliatory conduct that
violated Alaska and federal law, the MOA and APD are vicariously
liable.

Prayer for Relief

WHEREFORE, Anthony Henry demands and prays that judgment be
entered in his favor and against the MOA, APD and Chief Mew as
foilows:

1. That Lt. Henry be awarded ail available damages,
including actual, consequential, statutory, special and punitive
damages (as allowed by law), and damages under Anchorage
Municipal Code 1.45.010;

2. That Lt. Henry be awarded injunctive relief, including
yeinstatement or some other make-whole remedy that returns
Lt. Henry to the position he would have occupied absent MOA’s,

APD's, and Chief Mew’s conduct;

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3. That pre and post~-judgment interest be awarded, along
with reasonable attorney's fees, costs and expenses incurred by
Anthony Henry in bringing this case; and

4, That this Court award such other relief as it deems
proper.

DATED this 4th day of September 2015, at Anchorage, Alaska.

DILLON & FINDLEY, P.C.
Attorneys for Plaintiff

Cs PW

By:

 

Ray R. Bréwn, ABA No. 8206012
Molly C. Brown, ABA No. 0506057
Jessica Dillon, ABA No. O811066

CERTIFICATE OF SERVICE

 

The undersigned hereby certifies that
on the 4th day of September 2015, a
true and correct copy of the
foregoing document was served by:

[ ] facsimile
[ ] hand delivery
[ *4first class mail

on the following attorneys of record:

Blair M. Christensen
Assistant Municipal Attorney
Municipality of Anchorage

P, O. Box 196650

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Lisa Kusmider

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IN THE SUPERIOR COURT FOR THE STATE CF ALASKA

THIRD JUDICIAL DISTRICT AT ANCHORAGE

ANTHONY HENRY,

Plaintiff,

 

VS.

MUNICIPALITY OF ANCHORAGE and
ANCHORAGE POLICE DEPARTMENT,

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Defendants. }
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Case No. 3AN-15- L234 ci

DEMAND FOR JURY TRIAT,

 

Plaintiff, through counsel, the law firm of Dillon &
Findley, P.C., hereby requests and demands a trial by jury on

all issues triable of right by jury in the above-referenced

matter.
DATED this 6th day of May 2015, at Anchorage, Alaska.

DILLON & FINDLEY, P.C.
Attorneys for Plaintiff

sy: PHtlty- C Btawr
Ray R. Brown, ABA No. 8206012

Molly C. Brown, ABA No. 0506057
Jessica Dillon, ABA No. 0811066

 

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